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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: May 14, 2019

* * * * * * * * * * * * * * * * * * *                           UNPUBLISHED
KIRK FRANCESCHINI,                  *
                                    *                           No. 16-1112v
                  Petitioner,       *
v.                                  *                           Special Master Gowen
                                    *
SECRETARY OF HEALTH                 *                           Decision on Damages; Stipulation; Influenza
AND HUMAN SERVICES,                 *                           (“Flu”); Tetanus-diphtheria-acellular
                                    *                           pertussis (“Tdap”); Septic Arthritis.
                  Respondent.       *
* * * * * * * * * * * * * * * * * * *

Robert J. Killeen, Killeen & Stern, P.C., Houston, TX, for petitioner.
Ryan D. Pyles, United States Department of Justice, Washington, DC, for respondent.

                                        DECISION ON DAMAGES1

        On September 7, 2016, Kirk Franceschini (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program.2 Petition (ECF No. 1). Petitioner
alleged that an influenza (“flu”) vaccination and a tetanus-diphtheria-acellular pertussis (“Tdap”)
vaccination, that he received on November 6, 2013, caused him to suffer either brachial neuritis
or a shoulder injury related to vaccine administration (“SIRVA”). The case was assigned to the
Special Processing Unit (“SPU”) of the Office of Special Masters.

       On March 20, 2017, respondent filed a report pursuant to Vaccine Rule 4(c), in which
respondent recommended that petitioner be awarded compensation for septic arthritis in his left
shoulder. Respondent’s Report (“Resp. Rept.”) (ECF No. 18) at 1. Respondent further agrees

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the decision is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). An objecting party must provide the court with a proposed redacted version of the
opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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that petitioner continued to seek treatment for his arm/ shoulder pain for more than six months
after the onset of his condition and he also had inpatient hospitalization. Id. at 4-5.
Also on March 20, 2017, Chief Special Master Dorsey, then presiding over the case in the SPU,
issued a ruling that petitioner was entitlement to compensation. Ruling on Entitlement (ECF No.
19). The case was moved to the damages phase. On February 8, 2018, the case was transferred
to the undersigned for further proceedings. Notice of Reassignment (ECF No. 40).

       On May 14, 2019, the parties filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation (ECF No. 58), attached hereto as
Appendix A.

        The stipulation awards:

        1) A lump sum of $256,000.00, in the form of a check payable to petitioner. This
           amount represents all damages that would be available under 42 U.S.C. § 300aa-15(a)
           for injuries related to, and/ or alleged to be related to, petitioner’s receipt of the flu
           and/ or Tdap vaccines.

      I find the stipulation reasonable and I adopt it as the decision of the Court in awarding
damages, on the terms set forth therein. Accordingly, the Clerk of the Court SHALL ENTER
JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).


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